UNITED STATES DISTRICT COURT
: SOUTHERN DISTRICT OF TEXAS
BROWNSVILLE DIVISION

B-18-673

UNITED STATES OF AMERICA § .

Vs. , § CRIMINALNO. 5. — Mo Ee
MARCO PESQUERA | . sistiet Court
NORMA LINDA VEGA . United States Distric
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SAUL ATKINSON § Southern LED. exas

PARTIALLY UNSEALED
9/6/18 SEP 4 2018

INDICTMENT
. David J. Bradley, Clerk of Court

THE GRAND JURY CHARGES:
COUNT ONE

At all times material to this indictment:
A. Introduction
| 1. The Immigration and Nationality Act (INA), enacted by Congress, provided a
process for an employer to bring a foreign national into the United States for
employment, on a temporary basis, as a non-agricultural worker.

‘In order to hire a foreign worker a prospective employer must first obtain an H-2B

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visa for each foreign worker. The first step in obtaining an H-2B visa is to petition
. the Department of Labor (DOL) for Temporary Employment Certification by filing
an Application for Temporary Employment Certification, Form 9142B. DOL will
certify the application if the work is temporary, qualified United States workers are
insufficient in number, and empjoyment of foreign workers will not adversely affect
_ the wages and working conditions of U.S. workers. After the Form 9142B is

certified, the prospective employer may then file a Petition for Nonimmigrant
Worker, Form [-129 with the Department of Homeland Security, United States
Citizenship and Immigration Services (USCIS). The prospective employer must
inform USCIS the location of employment, job description and wages.

The prospective employer is required to provide truthful information in the Forms

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9142B and I-129, which require signature under penalty of perjury. -

Defendant, MARCO PESQUERA (PESQUERA), is the President and controls |

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Pangea Enterprises, Inc. Pangea Enterprises is a company with offices in

Brownsville and Houston, Texas. PESQUERA is a resident of the Southern District

of Texas.

Defendant, SAUL ATKINSON (ATKINSON), is the sole member of Mohawk

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Construction LLC and President of Axis Industries Inc. ATKINSON is a resident
of the Southern District of Texas.

Defendant, NORMA LINDA VEGA (VEGA), is. the principal of Data Processing

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Specialists Inc. and an employee of Pangea Enterprises, Inc. VEGA is a resident

of the Southern District of Texas.

Defendant, is the President of S&D

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Drywall And Construction Inc. is a resident of Sneliville, Georgia.
B. THE CONSPIRACY
8. Beginning on or about August 1, 2011, and continuing through on or about
January 1 of 2018, PESQUERA, VEGA, ATKINSON, and 1 knowingly and
willfully conspired, confederated and agreed with others known and unknown to the grand

jury, to commit the offense of visa fraud in-violation of 18 U.S.C. Section 1546(a).
C. THE MANNER AND MEANS OF THE CONSPIRACY

9. It was the manner and means of the conspiracy that PESQUERA would recruit
individuals to petition the United States for H-2B visa workers they did not need. Once
| the foreign workers were in the United States, PESQUERA would provide the workers to
industries as contract labor paying the workers an hourly wage much less than the
contract price. VEGA would correspond with the DOL and USCIS submitting Forms
9142B and 1-129 on behalf of individuals recruited by PESQUERA. ATKINSON and

recruited and paid by PESQUERA, falsely represented themselves as
business owners in need of H-2B workers and attested to the accuracy of Forms 9142B
and [-129. |
— 10. ' , ATKINSON and PESQUERA attested to information contained in
Forms 9142B and I-129 knowing the forms provided false information. |
11 . PESQUERA, VEGA, ATKINSON and created and provided the DOL
and USCIS with fraudulent documents including, payroll reports, contracts and tax
records to create the false impression that the petitioning company existed and
was in need of foreign workers. |
12. PESQUERA and ATKINSON, opened checking accounts in the name of
businesses seeking H-2B visas for foreign workers to create the appearance foreign
workers were employed and payed by the business requesting foreign workers.

D. OVERT ACTS

13 . In furtherance of the conspiracy, Defendants and their co-conspirators knowingly

performed overt acts in the Southern District of Texas and elsewhere. These acts include

but are not limited to the following:
 

. On or about August 30, 2011, PESQUERA executed Articles of Incorporation for

“Pangea Enterprises, Inc” with a registered office of 3159 Calle Maravillosa,

Brownsville, TX.

On or about December 11, 201 5, VEGA and PESQUERA submitted
or caused to be submitted to USCIS a Form I-129 requesting H-2B visas for 48

temporary workers on behalf of S&D Drywall and Construction Inc.

. On or about October 21, 2015, . ‘VEGA and PESQUERA submitted or
caused to be submitted to USCIS, fraudulent; monthly payroll reports, master

service agreement and quarterly Federal Tax returns regarding S&D Drywall and

Construction Inc.

. On or about October 6, 2015, _VEGA and PESQUERA submitted or
causéd to be submitted a Form 9142B to the U.S.D.O.L requesting 48 construction

laborers on behalf of S&D Drywall and Construction Inc.

. On or about February 24, 2014, ATKINSON, VEGA and PESQUERA submitted
or caused to be submitted a Form 9142B to the USDOL requesting 62 Layer

Helpers on behalf of Axis Industries Inc.

On or about April 14, 2014, ATKINSON, VEGA and PESQUERA submitted or
caused to be submitted to USDOL, a fraudulent payroll report and fraudulent

Master Service Agreement regarding Axis Industries Inc.

. On or about April 29, 2014, ATKINSON, VEGA and PESQUERA submitted or
caused to be submitted to USCIS a Form 1-129 requesting H-2B visas for 62

temporary workers on behalf of Axis Industries Inc.

. On or about February 24, 2014, ATKINSON, VEGA and PESQUERA submitted
 

or caused to be submitted a Form 9142B to the USDOL requesting 43 Layout

Workers on behalf of Mohawk Construction, LLC.

On or about April 28, 2014, ATKINSON, VEGA and PESQUERA submitted or
caused to be submitted to USDOL, a fraudulent payroll report and fraudulent
Master Service Agreement regarding Mohawk Construction LLC. 7

On or about May 8, 2014, ATKINSON, VEGA and PESQUERA submitted or
caused to be submitted to USCIS a Form l-129 requesting H-2B visas for 43

temporary workers on behalf of Mohawk Construction LLC.

. On or about March 14, 2014, VEGA and PESQUERA submitted or caused to be
submitted a Form 9142B to the USDOL requesting 45 Layer Helpers on behalf of

Giannico Corp.

On or about April 23, 2014, VEGA and PESQUERA submitted or caused to be
submitted to USDOL, a fraudulent payroll report and fraudulent Mutual Non-

Disclosure Agreement regarding Giannico Corp.

. On or about May 1, 2014, VEGA and PESQUERA submitted or caused to be
submitted to USCIS a Form I-129 requesting H-2B visas for 45 temporary workers

on behalf of Giannico Corp.

. On or about January 21, 2014, VEGA and PESQUERA submitted or caused to be
submitted a Form 9142B to the USDOL requesting 54 Sheet Metal Craftsman on

behalf of Gallo Group Inc.
. On or about April 23, 2014, VEGA and PESQUERA submitted or caused to be

submitted to USDOL, a fraudulent payroll report, a fraudulent Service Agreement

and fraudulent IRS Forms 941 regarding Gallo Group Inc.
 

. Onor about January 21, 2015, VEGA and PESQUERA submitted or caused to be
submitted to USCIS a Form I-129 requesting H-2B visas for 54 temporary workers

on behalf of Gall6 Group Inc.

. On or about August 31, 2011, PESQUERA established himself as a signer to a
business account in the name of “Pangea Enterprises,Inc’, with a business
address of 3159 Calle Maravillosa, Brownsville, TX.

On or about June 4, 2014, PESQUERA established himself as a signer to a
business bank account in the name of “Blue Point Solutions”, at JP Morgan Chase
Bank, NA, (account number xxxx6097).

. On or about July 16, 2014, PESQUERA established himself as a signer to a
business bank account in the name of “Axis Industries, Inc’ at JP Morgan Chase
Bank, NA, (account number xxxx5261).

On or about August 30, 2014, PESQUERA established himself as a signer to a
business bank account in the name of “Giannico Corp”, at JP Morgan Chase Bank,
NA, (account number xxxx3597). |

_ On or about February 12, 2015, PESQUERA established himself as a signer to a
~ business bank account in the name of “Herso Services, Inc”, at JP Morgan Chase
Bank, NA, (account number xxxx9875).

. Onor about November 12, 2015, PESQUERA established himself as a signer to |
a business bank account in the name of “Neri’s Drywall, Inc.”, at JP Morgan Chase
Bank, NA, (account number xxxx081 1).

. Onor about March 10, 2016 , PESQUERA and ATKINSON engaged in a meeting

at.a residence located at 3159 Calle Maravillosa in Brownsville, Texas, where
PESQUERA instructed ATKINSON on how to mislead federal agents investigating —

visa applications regarding Mohawk Construction LLC and Axis Industries Inc.

In violation of Title 18, United States Code, Sections 371, 1546(a) and 2,
COUNT TWO.
On or about December 14, 2015, in the Southern District of Texas and within the

jurisdiction of the Court, Defendants,

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MARCO PESQUERA and
NORMA LINDA VEGA So
did knowingly subscribe as true, under penalty of perjury pursuant to 28 U.S.C. § 1746,

a false statement with respect to a material fact in a Form 1-129, Petition for a
Nonimmigrant Worker, that is, defendants asserted that S&D Drywall and Construction
Inc. needed 55 temporary laborers to perform work in Gwinnett and Cobb County,
Georgia, a statement defendants knew to be false, when in truth S&D Drywall and
Construction Inc. did not have or anticipate a need for 55 temporary workers in Gwinett
and Cobb County, Georgia.

In violation of Title 18, United States Code, Section 1546(a) and 2.

COUNT THREE |
On or about January 15, 2015, in the Southern District of Texas and within the

jurisdiction of the Court, Defendants,

SAUL ATKINSON,
MARCO PESQUERA and
NORMA LINDA VEGA
did knowingly subscribe as true, under penalty of Perjury pursuant to 28 U.S.C. § 1 1746,
a.false statement with respect to a material fact in a Form 1-129, Petition for a
Nonimmigrant Worker, that is, defendants asserted that Mohawk Construction, LLC
needed 61 temporary laborers to perform work near Denver Colorado, a statement
defendants knew to be false, when in truth Mohawk Construction, LLC did not have or
anticipate a need for any workers near Denver, Colorado.

In violation of Title 18, United States Code, Section 1546(a) and 2.

| COUNT FOUR
On or about April 44, 2014, in the Southern District of Texas and within the

jurisdiction of the Court, Defendants,

MARCO PESQUERA and >
NORMA LINDA VEGA
did knowingly subscribe as true, under penalty of perjury pursuant to 28 U.S.C. § 1746,

a false statement with respect to a material fact in a Form 1-129, Petition for a
Nonimmigrant Worker, that is, defendants indicated that Gallo Group, Inc. needed 04
sheet metal craftsmen to perform work near Houston, Texas, which statement the
defendants knew to be false, when in truth Gallo Group, Inc. did not have or anticipate a
need for any workers near Houston; Texas. |
In violation of Title 18, United States Code, Section 1546(a) and 2.
| | COUNT FIVE —
On or about the June 26, 2015, in the Southern District of Texas, the defendant,
MARCO PESQUERA,

did corruptly influence, obstruct and impede or endeavor to influence, obstruct and

impede the due administration of justice by creating and backdating a fraudulent

“Subcontractor Service Agreement” that purports to have been entered on July 31, 2014
 

between Pangea Enterprises Inc. and Giannico Corp., a document that defendant knew
was requested by and would be provided to the Grand Jury in the Southern. District of
Texas in connection with a federal investigation of Giannico Corp.

In violation of Title 18, United States Code, Section 1503 and 2.

| COUNT Six
On or about December 29, 2015, in the Southern District of Texas, defendant,
MARCO PESQUERA,
knowingly made a false statement and report for the purpose of influencing the action of
-Coastal Commerce Bank, a federally insured bank, in connection with a loan and line of
credit, in that defendant represented loans to “Axis” and “Mohawk” as current assets for
Pangea Enterprises, Inc. on a Balance sheet dated December 29, 2015, when in truth
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"and in fact, as the defendant well knew “Axis” and “Mohawk” were not legitimate entities
but shell companies created to fraudulently petition for H2B visas on behalf of Pangea
Enterprises, Inc.

In violation of Title 18, United States Code, Section 1014

NOTICE OF CRIMINAL FORFEITURE
(18 U.S.C. § 982(a)(6)

Pursuant to Title 18, United States Code, Section 982(a)(6), as a result of the commission
of a violation of Title 18, United States Code, Section 1546, as charged in Counts One
through Four of this indictment, notice is given to the defendants, |
MARCO PESQUERA,
SAUL ATKINSON,

NORMA LINDA VEGA, .

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that the following property is subject to forfeiture:
1. all real and personal property that constitutes, or is derived from or is
traceable to the proceeds obtained directly or indirectly from the
commission of the offense; and |

2, all real and personal property that is used to facilitate, or is intended to be
used to facilitate, the commission of the offense.
PROPERTY SUBJECT TO FORFEITURE:
The property subject to forfeiture includes, but is not limited to, the following:
4. The real property located at 3159 Calle Maravillosa, Brownsville, Texas,
together with all improvements, buildings, structures and appurtenances,

and legally described as follows:

LOT 6, BLOCK 1, FOX HOLLOW SUBDIVISION, ACCORDING TO
THE MAP RECORDED IN CABINET 1, PAGES 1692-B AND 1693-
A OF THE MAP RECORDS OF CAMERON COUNTY, TEXAS, AS
AMENDED IN CABINET 1, PAGES 1749--A AND 1749-B OF THE
MAP RECORDS OF CAMERON COUNTY, TEXAS.

2. The real property located at 5817 Fordham Street, Houston, Texas,
together with all improvements, buildings, structures and appurtenances,

and legally described as follows:

LOT 5, BLOCK 4, OF PRESTON PLACE, A SUBDIVISION IN
HARRIS COUNTY, TEXAS, ACCORDING TO THE MAP OR PLAT
THEREOF RECORDED IN VOLUME 572, PAGE 318, OF THE
DEED RECORDS OF HARRIS COUNTY, TEXAS. .

. . MONEY JUDGMENT/SUBSTITUTE ASSETS
In the event that a condition listed in Title 21, United States Code, Section 853(p) exists,
the United States will seek to forfeit any other property of the defendants in substitution

up to the total value of the property subject to forfeiture. The United States may seek the

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imposition of a money judgment. |

A TRUE BILL:

 

_ FOREPERSON OF THE GRAND JURY

TORNEY

 

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Assistakf United States/Attorney

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